 Case 2:17-cv-00205-RWS Document 27 Filed 09/18/17 Page 1 of 1 PageID #: 74




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 ROTHSCHILD BROADCAST                              §
 DISTRIBUTION SYSTEMS, LLC,                        §
                                                   §   Case No.: 2:17-CV-00205-RWS
                   Plaintiff,                      §   LEAD
                                                   §
 v.                                                §
                                                   §
 BELKIN INTERNATIONAL, INC.,                       §
                                                   §
                                                   §
                  Defendants.                      §

 `
                                  AMENDED FINAL JUDGMENT

           On July 7, 2017, Defendants Lowe’s Companies, Inc. and Lowe’s Home Centers, LLC

were dismissed without prejudice (Docket No. 19).             On July 7, 2017, Defendant Belkin

International, Inc. was also dismissed without prejudice (Docket No. 20). As Belkin was the last

remaining Defendant in this consolidated action, the Court entered Final Judgment (Docket No.

21).
       .
           Pursuant to the Court granting Plaintiff’s Unopposed Motion to Amend Order Dismissing

Case to a Dismissal with Prejudice (Docket Nos. 23 and 24), the Court hereby enters this Amended

Final Judgment.

           IT IS HEREBY ORDERED, ADJUDGED, and DECREED that all claims in the above-

entitled and numbered causes of actions are DISMISSED WITH PREJUDICE in their entirety.

           All costs are to be borne by the party that incurred them. All motions by either party not

previously ruled on are hereby DENIED.

           SIGNED this 18th day of September, 2017.



                                                            ____________________________________
                                                            ROBERT W. SCHROEDER III
                                                            UNITED STATES DISTRICT JUDGE
